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 6
 7
                                UNITED STATES DISTRICT COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10                                                 Case No.: 2:23-cv-02633 RGK (AGRx)
     LEEMANUEL WEILCH,
11                Plaintiff,                       FIRST AMENDED COMPLAINT FOR
                                                   INJUNCTIVE RELIEF AND DAMAGES
12         vs.                                     FOR DENIAL OF CIVIL RIGHTS OF A
                                                   DISABLED PERSON IN VIOLATIONS
13                                                 OF
14                                                 1. AMERICANS WITH DISABILITIES
     SOUTH LOS ANGELES MORTUARY,                   ACT, 42 U.S.C. §12131 et seq.
15   INCORPORATED; and DOES 1 to 10,
16                Defendants.
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25         Plaintiff LEEMANUEL WEILCH (“Plaintiff”) complains of Defendants SOUTH

26   LOS ANGELES MORTUARY, INCORPORATED; and DOES 1 to 10 (“Defendants”)

27   and alleges as follows:

28   //



                                   FIRST AMENDED COMPLAINT - 1
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 1                                            PARTIES
 2           1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3   substantially limited in his ability to walk. Plaintiff is a paraplegic due to spinal cord
 4   injury and requires the use of a wheelchair at all times when traveling in public.
 5           2.   Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for a flower shop
 7   (“Business”) located at or about 9407 S. Vermont Ave., Los Angeles, California.
 8           3.   The true names and capacities, whether individual, corporate, associate or
 9   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11   Court to amend this Complaint when the true names and capacities have been
12   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
13   fictitiously named Defendants are responsible in some manner, and therefore, liable to
14   Plaintiff for the acts herein alleged.
15           4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18   the things alleged herein was acting with the knowledge and consent of the other
19   Defendants and within the course and scope of such agency or employment relationship.
20           5.   Whenever and wherever reference is made in this Complaint to any act or
21   failure to act by a defendant or Defendants, such allegations and references shall also be
22   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23   and severally.
24                                 JURISDICTION AND VENUE
25           6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27   seq.)
28           7.   Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.



                                   FIRST AMENDED COMPLAINT - 2
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 1         8.     Venue is proper in this court pursuant to 28 USC §1391(b).
 2         9.     The real property which is the subject of this action is located in this district,
 3   Los Angeles County, California, and Plaintiff’s causes of actions arose in this district.
 4                                 FACTUAL ALLEGATIONS
 5         10.    In or about January of 2023, Plaintiff went to the Business. Defendants
 6   provide parking spaces for customers.
 7         11.    The Business is a flower shop business establishment, open to the public,
 8   and is a place of public accommodation and affects commerce through its operation.
 9         12.    While attempting to enter the Business during each visit, Plaintiff personally
10   encountered a number of barriers that interfered with his ability to use and enjoy the
11   goods, services, privileges, and accommodations offered at the Business.
12         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
13   included, but were not limited to, the following:
14                a.    Defendants failed to comply with the federal and state standards for
15                      the parking space designated for persons with disabilities. Defendants
16                      failed to provide any parking space designated for persons with
17                      disabilities.
18                b.    Defendants failed to comply with the federal and state standards for
19                      the parking space designated for persons with disabilities. Defendants
20                      failed to provide the parking space identification sign with the
21                      International Symbol of Accessibility.
22                c.    Defendants failed to comply with the federal and state standards for
23                      the parking space designated for persons with disabilities. Defendants
24                      failed to post required signage such as “Van Access,” “Minimum Fine
25                      $250” and “Unauthorized Parking.”
26                d.    Defendants failed to maintain the parking space designated for
27                      persons with disabilities to comply with the federal and state
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                                  FIRST AMENDED COMPLAINT - 3
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 1                       standards. Defendants failed to provide proper van accessible space
 2                       designated for the persons with disabilities.
 3                e.     Defendants failed to maintain the parking space designated for
 4                       persons with disabilities to comply with the federal and state
 5                       standards. Defendants failed to paint the ground as required.
 6                f.     Defendants failed to maintain the parking space designated for
 7                       persons with disabilities to comply with the federal and state
 8                       standards. Defendants failed to mark the space with the International
 9                       Symbol of Accessibility.
10         14.    These barriers and conditions denied Plaintiff the full and equal access
11   to the Business and caused his difficulty and frustration. Plaintiff wishes to return and
12   patronize the Business, however, Plaintiff is deterred from visiting the Business because
13   his knowledge of these violations prevents him from returning until the barriers are
14   removed.
15         15.    Based on the violations, Plaintiff alleges, on information and belief, that
16   there are additional barriers to accessibility at the Business after further site inspection.
17   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
18   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
19         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
20   knew that particular barriers render the Business inaccessible, violate state and federal
21   law, and interfere with access for the physically disabled.
22         17.    At all relevant times, Defendants had and still have control and dominion
23   over the conditions at this location and had and still have the financial resources to
24   remove these barriers without much difficulty or expenses to make the Business
25   accessible to the physically disabled in compliance with ADDAG and Title 24
26   regulations. Defendants have not removed such barriers and have not modified the
27   Business to conform to accessibility regulations.
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                                   FIRST AMENDED COMPLAINT - 4
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 1                                   FIRST CAUSE OF ACTION
 2       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 3         18.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 6   shall be discriminated against on the basis of disability in the full and equal enjoyment of
 7   the goods, services, facilities, privileges, advantages, or accommodations of any place of
 8   public accommodation by any person who owns, leases, or leases to, or operates a place
 9   of public accommodation. See 42 U.S.C. § 12182(a).
10         20.    Discrimination, inter alia, includes:
11                a.    A failure to make reasonable modification in policies, practices, or
12                      procedures, when such modifications are necessary to afford such
13                      goods, services, facilities, privileges, advantages, or accommodations
14                      to individuals with disabilities, unless the entity can demonstrate that
15                      making such modifications would fundamentally alter the nature of
16                      such goods, services, facilities, privileges, advantages, or
17                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
18                b.    A failure to take such steps as may be necessary to ensure that no
19                      individual with a disability is excluded, denied services, segregated or
20                      otherwise treated differently than other individuals because of the
21                      absence of auxiliary aids and services, unless the entity can
22                      demonstrate that taking such steps would fundamentally alter the
23                      nature of the good, service, facility, privilege, advantage, or
24                      accommodation being offered or would result in an undue burden. 42
25                      U.S.C. § 12182(b)(2)(A)(iii).
26                c.    A failure to remove architectural barriers, and communication barriers
27                      that are structural in nature, in existing facilities, and transportation
28                      barriers in existing vehicles and rail passenger cars used by an



                                  FIRST AMENDED COMPLAINT - 5
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 1                       establishment for transporting individuals (not including barriers that
 2                       can only be removed through the retrofitting of vehicles or rail
 3                       passenger cars by the installation of a hydraulic or other lift), where
 4                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
 5                d.     A failure to make alterations in such a manner that, to the maximum
 6                       extent feasible, the altered portions of the facility are readily
 7                       accessible to and usable by individuals with disabilities, including
 8                       individuals who use wheelchairs or to ensure that, to the maximum
 9                       extent feasible, the path of travel to the altered area and the
10                       bathrooms, telephones, and drinking fountains serving the altered
11                       area, are readily accessible to and usable by individuals with
12                       disabilities where such alterations to the path or travel or the
13                       bathrooms, telephones, and drinking fountains serving the altered
14                       area are not disproportionate to the overall alterations in terms of cost
15                       and scope. 42 U.S.C. § 12183(a)(2).
16         21.    Where parking spaces are provided, accessible parking spaces shall be
17   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
18   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
19   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
20   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
21   be van parking space. 2010 ADA Standards § 208.2.4.
22         22.    Under the ADA, the method and color of marking are to be addressed by
23   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
24   Building Code (“CBC”), the parking space identification signs shall include the
25   International Symbol of Accessibility. Parking identification signs shall be reflectorized
26   with a minimum area of 70 square inches. Additional language or an additional sign
27   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
28   parking space identification sign shall be permanently posted immediately adjacent and



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 1   visible from each parking space, shall be located with its centerline a maximum of 12
 2   inches from the centerline of the parking space and may be posted on a wall at the
 3   interior end of the parking space. See CBC § 11B-502.6, et seq.
 4         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
 5   each entrance to an off-street parking facility or immediately adjacent to on-site
 6   accessible parking and visible from each parking space. The additional sign shall not be
 7   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
 8   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 9   designated accessible spaces not displaying distinguishing placards or special license
10   plates issued for persons with disabilities will be towed always at the owner’s expense…”
11   See CBC § 11B-502.8, et seq.
12         24.    Here, Defendants failed to provide any accessible parking space designated
13   for persons with disabilities. Defendants also failed to provide the parking space
14   identification sign with the International Symbol of Accessibility. In addition,
15   Defendants failed to provide signs stating “Minimum Fine $250” and “Van Accessible.”
16   Moreover, Defendants failed to provide the additional sign with the specific languages
17   stating “Unauthorized vehicles parked in designated accessible spaces not displaying
18   distinguishing placards or special license plates issued for persons with disabilities will
19   be towed always at the owner’s expense…”
20         25.    For the parking spaces, access aisles shall be marked with a blue painted
21   borderline around their perimeter. The area within the blue borderlines shall be marked
22   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
23   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
24   be painted on the surface within each access aisle in white letters a minimum of 12 inches
25   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
26   11B-502.3.3.
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                                  FIRST AMENDED COMPLAINT - 7
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 1         26.      Here, Defendants failed to properly maintain the access aisles as there were
 2   no “NO PARKING” and no blue lines painted on the parking surface. Moreover,
 3   Defendants failed to provide the access aisle with the minimum width of 96 inches.
 4         27.      The surface of each accessible car and van space shall have surface
 5   identification complying with either of the following options: The outline of a profile
 6   view of a wheel chair with occupant in white on a blue background a minimum 36” wide
 7   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
 8   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
 9   length of the parking space and its lower side or corner aligned with the end of the
10   parking space length or by outlining or painting the parking space in blue and outlining
11   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
12   occupant. See CBC § 11B-502.6.4, et seq.
13         28.      Here, Defendants failed to paint the International Symbol of Accessibility on
14   the surface as required.
15         29.      A public accommodation shall maintain in operable working condition those
16   features of facilities and equipment that are required to be readily accessible to and usable
17   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
18         30.      By failing to maintain the facility to be readily accessible and usable by
19   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
20   regulations.
21         31.      The Business has denied and continues to deny full and equal access to
22   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
23   discriminated against due to the lack of accessible facilities, and therefore, seeks
24   injunctive relief to alter facilities to make such facilities readily accessible to and usable
25   by individuals with disabilities.
26                                       PRAYER FOR RELIEF
27         WHEREFORE, Plaintiff respectfully prays for relief and judgment against
28   Defendants as follows:



                                    FIRST AMENDED COMPLAINT - 8
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 1         1.      For preliminary and permanent injunction directing Defendants to comply
 2   with the Americans with Disability Act;
 3         2.      Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 4   action; and
 5         3.      Such other and further relief as the Court deems just and proper.
 6                               DEMAND FOR TRIAL BY JURY
 7         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 8   demands a trial by jury on all issues so triable.
 9
10   Dated: May 11, 2023                     SO. CAL. EQUAL ACCESS GROUP
11
12                                           By:    _/s/ Jason J. Kim____________
                                                    Jason J. Kim, Esq.
13                                                  Attorneys for Plaintiff
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                                   FIRST AMENDED COMPLAINT - 9
